          Case 6:19-bk-14348-SY                       Doc       Filed 04/12/24 Entered 04/12/24 13:20:09                              Desc Main
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 Fill in this information to identify the case:
 Debtor 1
                 Richard Parnell
 Debtor 2

 (Spouse, if filing)
 United States Bankruptcy Court for the: Central District of California ___________
                                                                          (State)
 Case number 6:19-bk-14348-SY


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                          12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See bankruptcy rule 3002.1


Name of creditor: U.S. Bank Trust National Association as                           Court claim no. (if known): 6
Trustee of the Cabana Series III Trust

                                                                                    Date of payment change:                     June 1, 2024
                                                                                    Must be at least 21 days after date
Last four digits of any number you use                7978                          of this notice
to identify the debtor's account:



                                                                                    New total payment:                          $1210.36
                                                                                    Principal, interest, and escrow, if any



 Part 1:          Escrow Account Payment Adjustment
1.    Will there be a change in the debtor's escrow account payment?
        No
        Yes.          Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
                       the basis for the change. If a statement is not attached, explain why: ___________________________________________
                       __________________________________________________________________________________________________

                       Current escrow payment:       $506.72                              New escrow payment:         $474.73

Part 2:           Mortgage Payment Adjustment
 2.    Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the
       debtor's variable-rate note?
        No
        Yes.          Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
                       attached, explain why:
                       ___________________________________________________________________________________________________
                       Current Interest Rate:                                             New interest rate:
                       Current principal and interest payment:                               New principal and interest payment:
Part 3:           Other Payment Change
 3.    Will there be a change in the debtor's mortgage payment for a reason not listed above?
        No
        Yes.          Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect)

                       Reason for change:

                       Current mortgage payment:                                              New mortgage payment:




Official Form 410S1                                      Notice of Mortgage Payment Change                                                     Page 1
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Debtor 1     Richard Parnell
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                                                                                     7 (if known) 6:19-bk-14348-SY
             First Name            Middle Name          Last Name



Part 4:          Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
 number.
 Check the appropriate box
          I am the creditor.
   I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.

           /s/ Shannon Doyle                                                 Date 04/12/2024
     Signature

 Print:               Shannon Doyle                    __________            Title    Bankruptcy Attorney
                      First name         Middle Name   Last name

 Company              GHIDOTTI | BERGER LLP

 Address              1920 Old Tustin Ave,
                      Number               Street

                      Santa Ana, CA 92705
                      City                 State       Zip Code

 Contact phone        (949) 427-2010                   Email:      bknotifications@ghidottiberger.com
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                   323 FIFTH STREET                                                                                     (800) 603-0836
                   EUREKA CA 95501                                                               Para Español, Ext. 2660, 2771 o 2750
                                                                                                     8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                             Main Office NMLS #
                                                                                                           Branch Office NMLS #




              RICHARD PARNELL
              521 E MONTROSE ST
              RIALTO CA 92376



Analysis Date: April 04, 2024                                                                                                            Final
Property Address: 521 EAST MONTROSE STREET RIALTO, CA92376                                                               Loan:
                                     Annual Escrow Account Disclosure Statement
                                                 Account History

      This is a statement of actual activity in your escrow account from June 2023 to May 2024. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information               Current:      Effective Jun 01, 2024:            Escrow Balance Calculation
 Principal & Interest Pmt:              735.63                  735.63             Due Date:                                   Mar 01, 2024
 Escrow Payment:                        506.72                  474.73             Escrow Balance:                                 (196.90)
 Other Funds Payment:                      0.00                    0.00            Anticipated Pmts to Escrow:                    1,520.16
 Assistance Payment (-):                   0.00                    0.00            Anticipated Pmts from Escrow (-):                   0.00
 Reserve Acct Payment:                     0.00                    0.00            Anticipated Escrow Balance:                     $1,323.26
  Total Payment:                       $1,242.35               $1,210.36


                     Payments to Escrow       Payments From Escrow                                  Escrow Balance
       Date          Anticipated   Actual     Anticipated     Actual         Description            Required       Actual
                                                                          Starting Balance       1,382.95            301.84
      Jun 2023          460.97    1,038.80                            *                          1,843.92          1,340.64
      Jul 2023          460.97                                        *                          2,304.89          1,340.64
      Aug 2023          460.97      506.72                            *                          2,765.86          1,847.36
      Sep 2023          460.97      506.72                            *                          3,226.83          2,354.08
      Oct 2023          460.97      506.72                            *                          3,687.80          2,860.80
      Nov 2023          460.97                                        *                          4,148.77          2,860.80
      Nov 2023                                               2,011.43 * County Tax               4,148.77            849.37
      Dec 2023          460.97    1,013.44       1,865.27             * County Tax               2,744.47          1,862.81
      Dec 2023                       24.68                            * Int on Escrow Pmt        2,744.47          1,887.49
      Jan 2024          460.97      506.72                            *                          3,205.44          2,394.21
      Feb 2024          460.97      506.72                            *                          3,666.41          2,900.93
      Feb 2024                                               1,593.15 * Homeowners Policy        3,666.41          1,307.78
      Mar 2024          460.97      506.72       1,801.15             * Homeowners Policy        2,326.23          1,814.50
      Mar 2024                                               2,011.40 * County Tax               2,326.23           (196.90)
      Apr 2024          460.97                   1,865.25             * County Tax                 921.95           (196.90)
      May 2024          460.97                                        *                          1,382.92           (196.90)
                                                                        Anticipated Transactions 1,382.92           (196.90)
      Apr 2024                  1,013.44                                                                             816.54
      May 2024                    506.72                                                                           1,323.26
                     $5,531.64 $6,637.40       $5,531.67    $5,615.98


                                                                                                                               Page 1
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   asterisk (*) indicates a difference from Doc
                                            a previousFiled
                                                      estimate04/12/24         Entered
                                                               either in the date           04/12/24
                                                                                  or the amount.         13:20:09
                                                                                                 If you want               Desc Main
                                                                                                             a further explanation, please call
our toll-free number.                               Document             Page     4   of 7

Last year, we anticipated that payments from your account would be made during this period equaling 5,531.67. Under
Federal law, your lowest monthly balance should not have exceeded 921.95 or 1/6 of the anticipated payment from the
account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
silent on this issue.




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Borrower: RICHARD PARNELL                                                                                                           Loan:
                                                 Annual Escrow Account Disclosure Statement
                                                        Projections for Coming Year

      This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
      from your account.

        Date              Anticipated Payments                                                                  Escrow Balance
                          To Escrow From Escrow               Description                                 Anticipated      Required
                                                              Starting Balance                             1,323.26        1,403.98
      Jun 2024              468.00                                                                         1,791.26        1,871.98
      Jul 2024              468.00                                                                         2,259.26        2,339.98
      Aug 2024              468.00                                                                         2,727.26        2,807.98
      Sep 2024              468.00                                                                         3,195.26        3,275.98
      Oct 2024              468.00                                                                         3,663.26        3,743.98
      Nov 2024              468.00                                                                         4,131.26        4,211.98
      Dec 2024              468.00         2,011.43           County Tax                                   2,587.83        2,668.55
      Jan 2025              468.00                                                                         3,055.83        3,136.55
      Feb 2025              468.00                                                                         3,523.83        3,604.55
      Mar 2025              468.00         1,593.15           Homeowners Policy                            2,398.68        2,479.40
      Apr 2025              468.00         2,011.40           County Tax                                     855.28          936.00
      May 2025              468.00                                                                         1,323.28        1,404.00
                         $5,616.00       $5,615.98

     (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
      Your escrow balance contains a cushion of 936.00. A cushion is an additional amount of funds held in your escrow
      balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
      Federal law, your lowest monthly balance should not exceed 936.00 or 1/6 of the anticipated payment from the account,
      unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
      this issue.

      Your ending balance from the last month of the account history (escrow balance anticipated) is 1,323.26. Your starting
      balance (escrow balance required) according to this analysis should be $1,403.98. This means you have a shortage of 80.72.
      This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
      deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 12
      months.

      We anticipate the total of your coming year bills to be 5,615.98. We divide that amount by the number of payments expected during
      the coming year to obtain your escrow payment.




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Borrower: RICHARD PARNELL                                                                                               Loan:

                                                                  Paying the shortage: If your shortage is paid in full, your new
      New Escrow Payment Calculation
                                                                  monthly payment will be $1,203.63 (calculated by subtracting the
      Unadjusted Escrow Payment                     468.00
                                                                  Shortage Amount to the left and rounding, if applicable). Paying the
      Surplus Amount:                                 0.00
                                                                  shortage does not guarantee that your payment will remain the same, as
      Shortage Amount:                                6.73
                                                                  your tax or insurance bills may have changed. If you would like to pay
      Rounding Adjustment Amount:                     0.00
                                                                  the shortage now, please pay the entire amount of the shortage before
      Escrow Payment:                              $474.73
                                                                  the effective date of your new payment. To ensure that the funds are
                                                                  posted to your account correctly, please notify your asset manager that
                                                                  you are paying the shortage.

    NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
    premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
    the principal balance of your loan is 80 percent or less of the original appraised value of your home, and you have a good payment
    history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth Street,
    Eureka, Ca 95501 or 800-603-0836.

 * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
 updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
 or return in the self-addressed envelope.




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1920 Old Tustin Avenue, Santa Ana, CA 92705

                                                                          Notice of Mortgage Payment Change




 April 12, 2024


Counsel for Debtor(s): Benjamin Heston, ben@hestonlaw.com
Chapter 13 Trustee: Rod Danielson (TR), notice-efile@rodan13.com
U.S. Trustee: United States Trustee (RS), ustpregion16.rs.ecf@usdoj.gov




           April 12, 2024




Debtor(s): Richard Parnell, 521 Montrose Street, Rialto, CA 92376




 04/12/2024                 Shannon Doyle                                       /s/ Shannon Doyle
